        Case 1:20-cv-00287-CJN           Document 65       Filed 02/07/25      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD AND             )
BUZZFEED INC.                 )
               Plaintiffs,    )
                              )                 Civ. A. No. 1:20-cv-00287 (CJN)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)

                           FIFTY-FIRST JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated August 10, 2021, in this Freedom of

Information Act (“FOIA”) litigation requiring the parties to submit a Joint Status Report every

thirty days, the Parties report as follows:

       1.      This is a FOIA case in which Plaintiffs Jason Leopold and Buzzfeed, Inc., seek

records from the U.S. Department of Justice’s (“DOJ”) Office of the Inspector General (“OIG”)

pertaining to what Plaintiffs allege was “FBI’s investigation into any witting or unwitting collusion

between Trump associates and Russian officials regarding the Russian government’s effort to

interfere in the 2016 Presidential Election. The FBI’s investigation is also known under code name

Crossfire Hurricane.” Compl. ¶ 1, ECF No. 1.

       2.      Plaintiffs’ Complaint contains allegations related to one FOIA request with three

subparts:

       1) All non-public records, such as intelligence products, interview transcripts and
       summaries, emails, FBI FD 302 summaries, memos, letters, text messages,
       exhibits, charts, spreadsheets, that were used by the Office of the Inspector
       General in the drafting of the December 2019 report: Review of Four FISA
       Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation.

       2) Any and all records, including but not limited to emails, memos, letters, and
       text messages, sent and received by senior Office of Inspector General personnel

                                                 1
        Case 1:20-cv-00287-CJN           Document 65        Filed 02/07/25      Page 2 of 4




       mentioning or referring to the report: Review of Four FISA Applications and
       Other Aspects of the FBI’s Crossfire Hurricane Investigation. The timeframe for
       this request is December 1, 2019 through the date the search for responsive
       records is conducted.

       3) Emails, memos, letters, text messages, mentioning or referring to the FISA
       investigation, the Nunes Memo, Crossfire Hurricane, Attorney General William
       Barr, Robert Mueller, Carter Page, John Durham and Christopher Steele and
       Steele Dossier, Peter Strzok and Donald Trump and Trump Campaign. The
       timeframe for this request is January 1, 2019 through the date the search for
       responsive records is conducted.

Compl. ¶ 6.

       3.       Per the Court’s order, the parties provide the following status report to apprise the

Court of the current status of processing in this case. In an effort to streamline these reports, some

of the historical details of the processing efforts in this case to date have been omitted. For a

complete history of the processing efforts in this case, see ECF No. 61.

       4.       As to subpart 1 of this request, OIG is coordinating with the FBI to process this

material, which includes OIG-generated material, FBI-generated material, and a small amount of

material generated by other agencies. OIG is currently processing material related to Christopher

Steele, E.W. Priestap, Peter Strzok and Bruce Ohr. OIG has completed its initial processing and

second-level review of material related to Bruce Swartz and Zainab Ahmad. OIG is awaiting the

return of consultations for Swartz and Ahmad, has been diligently following up with the consulting

agency(ies)/component(s), and will produce the non-exempt portions of those records to Plaintiffs

following the completion of the consultation process. If OIG identifies equities of other Executive

branch agencies and/or DOJ components in these materials, OIG will have to submit those for

consultation.

       5.       Regarding the OIG-generated portion of the material referenced above, the FBI has

reported that there are 11,000 pages of interview transcripts in this tranche of potentially



                                                  2
       Case 1:20-cv-00287-CJN           Document 65       Filed 02/07/25      Page 3 of 4




responsive material. Given the pace of OIG’s progress due to its reduction in workforce, FBI

agreed to use its best efforts to process 150 pages per month during the months of June and July

2023, which it did, returning 150 pages to OIG on July 12, 2023 and returning 150 pages to OIG

on July 31, 2023. Going forward, to the extent FBI is waiting to receive materials referenced in

paragraph 6, it will process materials referenced in this paragraph. On March 28, 2024, FBI

returned to OIG 153 pages of records. On April 30, 2024, FBI returned to OIG 165 pages of

records. FBI returned tranches of 150 pages of records to OIG on May 31, 2024; July 2, 2024; July

29, 2024; August 30, 2024; September 30, 2024; December 20, 2024; and January 31, 2025. For

the months October 2024 and November 2024, FBI returned a tranche of 300 pages to the OIG on

November 27, 2024.

       6.      The small portion of the material potentially responsive to subpart 1 that was

generated by components or agencies other than the FBI and has been sent out for referrals. OIG

continues to monitor these referrals.

       7.      For subpart 2, OIG has completed its processing of responsive records. On May

20, 2021, OIG notified Plaintiffs that it had processed 136 pages of material and released 95 of

those pages to Plaintiffs with redactions pursuant to FOIA Exemptions 5, 6, 7(C) and 7(E) (the

remaining 41 pages were removed as duplicates). On July 30, 2021, OIG notified Plaintiffs that it

had processed 47 pages of material and released all 47 pages with redactions pursuant to FOIA

Exemption 5 and 6. On September 2, 2021, OIG notified Plaintiffs that it had processed 66 pages

of material and was releasing 61 pages with redactions pursuant to Exemptions 3, 5, and 6, and

had sent the remaining 5 pages to the Office of Information Policy (2 pages) and the FBI (three

pages) for direct response.

       8.      For subpart 3, the Parties previously reported that they were still conferring about



                                                3
       Case 1:20-cv-00287-CJN          Document 65       Filed 02/07/25      Page 4 of 4




the scope of this request. The Parties have agreed to narrow the scope of this request. OIG will

begin processing this material once it has completed processing materials response to subpart 1.

       9.      Pursuant to the Court’s August 10, 2021 Minute Order, the Parties typically report

back to the Court every thirty days. By mutual agreement of counsel, the parties will submit the

next status report no later than March 8, 2025.

       10.     At this time, Defendant does not believe an Open America motion is likely. The

Parties continue to believe that it is premature to propose a summary judgment briefing schedule.

DATE: February 7, 2025                       Respectfully submitted,

 /s/ Merrick Wayne_________                   BRETT A. SHUMATE
  Matt Topic, D.C. Bar No. IL0037             Acting Assistant Attorney General
  Merrick Wayne, D.C. Bar No. IL0058
  Stephen Stich Match, D.C. Bar No.           MARCIA BERMAN
   MA0044                                     Assistant Branch Director, Federal Programs
  (E-Mail: foia@loevy.com)
  LOEVY & LOEVY                               /s/ Michael J. Gerardi___
  311 N. Aberdeen, Third Floor                MICHAEL J. GERARDI
  Chicago, Illinois 60607                     Trial Attorney (DC Bar # 1017949)
  Tel.: (312) 243-5900                        United States Department of Justice
  Fax: (312) 243-5902                         Civil Division, Federal Programs Branch
                                              1100 L Street, NW
  Counsel for Plaintiffs                      Washington, D.C. 20005
                                              Tel. (202) 616-0680
                                              Email: michael.j.gerardi@usdoj.gov

                                              Counsel for Defendant




                                                  4
